             Case 1-11-40501-jf               Doc 18        Filed 06/30/11            Entered 07/01/11 00:19:41

Form BLdfnld7 (12/01/2007)

                                      United States Bankruptcy Court
                                              Eastern District of New York
                                           271 Cadman Plaza East, Suite 1595
                                               Brooklyn, NY 11201−1800

IN RE:                                                                                                 CASE NO: 1−11−40501−jf
   Mustafa Uretener                                     Nuket Uretener
   36 Purdue Court                                      36 Purdue Court
   Staten Island, NY 10314                              Staten Island, NY 10314
   Name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address.
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                              CHAPTER: 7
   xxx−xx−6491                                                       xxx−xx−4076
                         DEBTOR(s)




                                            DISCHARGE OF DEBTOR(S)
                                            ORDER OF FINAL DECREE

A petition under title 11, United States Code was filed by or against the Debtor(s) on January 25, 2011; an order for
relief was entered under Chapter 7; no order denying a discharge has been granted.


It appearing that the debtor(s) is entitled to a discharge and the estate of the above named debtor(s) has been fully
administered.

IT IS ORDERED:



      • The debtor(s) is granted a discharge under Section 727 of Title 11, United States Code, (the Bankruptcy
        Code).

      • Lori Lapin Jones (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and the bond
        is cancelled.

      • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: June 28, 2011                                                 s/ Jerome Feller
                                                                     United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

       This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example,
a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
wages or other property, or to take any other action to collect a discharged debt from the debtor(s). A creditor who
violates this order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts;
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                 Case No. 11-40501-jf
Mustafa Uretener                                                                       Chapter 7
Nuket Uretener
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0207-1          User: frandazzo              Page 1 of 2                   Date Rcvd: Jun 28, 2011
                              Form ID: 262                 Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 30, 2011.
db/jdb        +Mustafa Uretener,   Nuket Uretener,    36 Purdue Court,    Staten Island, NY 10314-6001
smg           +NYC Department of Finance,    345 Adams Street, 3rd Floor,    Attn: Legal Affairs - Devora Cohn,
                Brooklyn, NY 11201-3719
smg           +NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,   Albany, NY 12205-0300
smg           +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                Albany, NY 12240-0001
7045451     ++COLLECT AMERICA LTD,     4340 S MONACO PKWY,   2ND FL,    DENVER CO 80237-3408
              (address filed with court: Cach Llc,     370 17th St Ste 5000,    Denver, CO 80202)
7058725       +EMC Mortage Corporation as servicer for,    Wells Fargo Bank,    c/o Fein Such & Crane,
                7 Century Drive, Suite 201,    Parsippany NJ 07054-4609
7045457       +Equable Ascent Financi,    C/O MULLOOLY, JEFFERY,ROONEY & FLYNN LL,    6851 Jericho Tpke, Suite 220,
                Syosset, NY 11791-4449
7045459       +Fleck, Fleck & Fleck Esqs.,    1205 Franklin Ave, Ste 300,    Garden City, NY 11530-1600
7201205       +JPMorgan Chase Bank, N.A.,    Chase Records Center,   Mail Code LA4-5555,     700 Kansas Lane,
                Monroe, LA 71203-4774
7045461       +Leading Edge Recovery Solutions,    5440 N. Cumberland Ave, Ste 300,    Chicago, IL 60656-1486

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg          +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Jun 28 2011 18:25:00        United States Trustee,
               Office of the United States Trustee,    271 Cadman Plaza East,     Brooklyn, NY 11201-1833
7045450      +EDI: AMEREXPR.COM Jun 28 2011 18:18:00      Amex,    Po Box 297871,
               Fort Lauderdale, FL 33329-7871
7045452      +EDI: CAPITALONE.COM Jun 28 2011 18:18:00      Cap One,    Po Box 85520,    Richmond, VA 23285-5520
7087249       EDI: RECOVERYCORP.COM Jun 28 2011 18:18:00      Capital Recovery III LLC,
               c/o Recovery Management Systems Corp.,    25 S.E. 2nd Avenue, Suite 1120,     Miami, FL 33131-1605
7045453      +EDI: CITICORP.COM Jun 28 2011 18:18:00      Citi,    Pob 6241,   Sioux Falls, SD 57117-6241
7045454      +EDI: CITICORP.COM Jun 28 2011 18:18:00      Citibankna,    Po Box 769006,
               San Antonio, TX 78245-9006
7045455      +EDI: DISCOVER.COM Jun 28 2011 18:18:00      Discover Fin Svcs Llc,     Po Box 15316,
               Wilmington, DE 19850-5316
7045458      +E-mail/Text: BKNOTICES@EAFLLC.COM Jun 28 2011 18:24:44       Equable Ascent Financi,
               1120 W Lake Cook Rd,   Buffalo Grove, IL 60089-1970
7045460      +EDI: GMACFS.COM Jun 28 2011 18:18:00      G M A C,    Po Box 105677,    Atlanta, GA 30348-5677
7045462      +EDI: RESURGENT.COM Jun 28 2011 18:18:00      Lvnv Funding Llc,    P.o. B    10584,
               Greenville, SC 29603-0584
7045463      +EDI: MID8.COM Jun 28 2011 18:18:00      Midland Credit Mgmt,    8875 Aero Dr,
               San Diego, CA 92123-2251
7045464      +EDI: SEARS.COM Jun 28 2011 18:18:00      Sears/cbsd,    Po Box 6189,    Sioux Falls, SD 57117-6189
                                                                                               TOTAL: 12

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
7045456    ##+Emc Mortgage,   Po Box 141358,   Irving, TX 75014-1358
                                                                                              TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.    Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.
                     Case 1-11-40501-jf           Doc 18       Filed 06/30/11          Entered 07/01/11 00:19:41




 District/off: 0207-1                  User: frandazzo                    Page 2 of 2                          Date Rcvd: Jun 28, 2011
                                       Form ID: 262                       Total Noticed: 22


               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jun 30, 2011                                       Signature:
